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14                         UNITED STATES DISTRICT COURT
15                    NORTHERN DISTRICT OF CALIFORNIA
16
     S.A. MUSIC, LLC, et al.,                                Case No. 20-cv-2146-WHO
17                                                           Case No. 20-cv-2794-WHO
                        Plaintiffs,                          Case No. 20-cv-2965-WHO
18
           v.
19
     APPLE INC., et al.,
20
                        Defendants.
21

22

23
       PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN
24
     SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT
25

26

27
                                PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
28                              Case Nos. 20-cv-2146-WHO, 20-cv-2794, 20-cv-2965-WHO
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 1               MEMORANDUM OF POINTS AND AUTHORITIES
 2                                   Preliminary Statement
 3                      If copyright dies, if patents die, if the protection of
                 intellectual property is eroded, then people will stop investing.
 4               That hurts everyone. People need to have the incentive so that if
                 they invest and succeed, they can make a fair profit. But on
 5               another level, it’s just wrong to steal. Or let’s put it this way: it is
                 corrosive to one’s character to steal. We want to provide a legal
 6               alternative.
 7                             Steve Jobs, Rolling Stone interview, December 2003
 8        Plaintiffs are family-owned music publishers operated by the heirs of three of
 9 most important composers of popular music in the 20th Century – Harold Arlen,

10 Harry Warren, and Ray Henderson. Plaintiffs’ musical works include the most

11 iconic and culturally important works of the 20th Century including That’s Amore,

12 I’ve Got the World On a String, Come Rain or Come Shine, Stormy Weather, Bye

13 Bye Blackbird, Life Is Just A Bowl of Cherries, and Get Happy.

14        Apple sold pirated copies of recordings of these works in its iTunes store.
15 The recordings of these monumental musical works that were pirated include every

16 popular recording artist of the 20th Century including, Frank Sinatra, Tony Bennett,

17 Dean Martin, Ray Charles, Ella Fitzgerald, Billie Holiday, Judy Garland, Miles

18 Davis, John Coltrane, Nat “King” Cole, Benny Goodman, Sarah Vaughan, Count

19 Basie, Louis Armstrong. How could Apple possibly think that these famous

20 recordings were owned by Adasam, Pickwick and Genepool, entities that Apple had

21 never even heard of? By selling pirated copies of these works, Apple not only stole

22 money from Plaintiffs for their songs, but also stole royalties owed to these

23 legendary artists and their families for their performances on the recordings as well

24 as the record companies that invested in creating these recordings – these are quite

25 literally, national treasures. Apple pocketed its share and paid the rest to known

26 European music pirates – Adasam, Pickwick and Genepool – purported “record

27 labels” from whom Apple contracted to receive these pirated recordings.

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 1        Apple wanted to be the dominant market player in digital music. If that meant
 2 it had insufficient time to clear licenses, so be it. But it is even worse – at every

 3 turn, Apple made choices that allowed these suppliers to continue to upload pirated

 4 recordings. It had the technology to detect these unauthorized recordings, but it

 5 chose not to use it. Apple did no due diligence before allowing these pirates to

 6 upload these recordings to iTunes. None.

 7        And then it ignored warning after warning that these suppliers were pirates
 8 who could not possibly have owned these recordings. Apple was warned by the

 9 major record labels that they did not authorize these recordings. They were warned

10 by music publishers that they did not license these recordings. Apple was warned

11 by the RIAA that these recordings were pirated. Apple was evenly previously sued

12 for selling tracks supplied by Adasam and Pickwick. Even Apple’s own outside

13 counsel warned Apple these tracks were pirated! Astonishingly, none of that was

14 enough for Apple to stop doing business with these suppliers of pirated music.

15        Instead, Apple chose to blindly and unreasonable rely on boilerplate
16 “representations and warranties” from these unknown suppliers that Apple put in to

17 its standard contract, and continued to rely on those representations and warranties

18 after it was obvious that those representations and warranties were false. This is

19 what vast, willful copyright infringement looks like.

20        As shown below, Plaintiffs demonstrate:
21               1.     They are the copyright owners of the compositions at issue
22                      (Section 2 below)
23               2.     The recordings at issue embody the compositions owned by
24                      Plaintiffs (Section 3 below);
25               3.     Apple reproduced, distributed and imported the recordings
26                      (Section 4 below);
27               4.     Apple had no valid licenses to reproduce, distribute and import
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 1                     the recordings embodying Plaintiffs’ compositions (Section 5
 2                     below); and
 3              5.     Apple’s infringement was willful (Section 6 below).
 4

 5        Summary judgment on the issues of infringement and willfulness should be
 6 granted. The Court should order a trial on the limited issue of the damages to be

 7 assessed.

 8                                     Factual Background
 9 A.     Plaintiffs SA Music, LLC and the Harold Arlen Trust
10        SA Music, LLC is the copyright owner of Harold Arlen’s catalog of musical
11 works and is operated by Arlen’s only child, Sam. Since 1986, Sam has been

12 publishing Harold Arlen’s works and preserving his legacy. The Harold Arlen Trust

13 was created by Harold Arlen in his will and is the copyright owner of a catalog of

14 Arlen’s earliest works.

15        Harold Arlen is one of the greatest composers of the 20th Century. Arlen was
16 active in Hollywood and composed the music for some of the greatest film musicals

17 of all time, most notably all the music in the 1939 motion picture classic “The Wizard

18 of Oz,” including Ding, Dong! The Witch Is Dead, We're Off To See The Wizard, and

19 Over The Rainbow, which won the Academy Award for Best Original Song and was

20 voted number one on the "Songs of the Century" list compiled by the Recording

21 Industry Association of America and the National Endowment for the Arts. Arlen

22 wrote some of the most celebrated musical works in the Great American Songbook

23 including Stormy Weather, I’ve Got The World On A String, Come Rain Or Come

24 Shine, The Devil And The Deep Blue Sea, and It’s Only A Paper Moon. Arlen was

25 inducted into the Songwriters Hall of Fame in 1971.

26 B.     Plaintiff Ray Henderson Music Co., Inc.
27        Ray Henderson Music Co., Inc. (Ray Henderson Music) is the copyright
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 1 owner of a catalog of Ray Henderson’s musical works and is owned and operated

 2 by all eight of Ray Henderson’s grandchildren. Ray Henderson Music has been

 3 publishing the Henderson catalog since 2001. Before the company was created by

 4 Henderson’s three children, they published the Henderson catalog as a partnership

 5 doing business as Ray Henderson Music Co. since the 1980s.

 6        Ray Henderson is one of the greatest composers of the early 20th century.
 7 Henderson was a major contributor to the Great American Songbook, having

 8 written such songs as Bye Bye Blackbird, I'm Sitting on Top of the World, Life Is

 9 Just a Bowl of Cherries, The Best Things in Life Are Free, and Animal Crackers in

10 My Soup. In 1956, Henderson’s songwriting life was the subject of a film called

11 “The Best Things In Life Are Free” starring Gordon MacRae, Dan Dailey and

12 Ernest Borgnine as the real-life songwriting team of Buddy DeSylva, Lew Brown

13 and Ray Henderson. Henderson was among those selected for the inaugural

14 induction of the Songwriters Hall of Fame in 1970.

15 C.     Plaintiff Four Jays Music Company
16        Four Jays Music Company is the copyright owner of many of Harry Warren’s
17 musical works. Formed by Warren in 1955, he named the company after the four

18 “J’s” that he loved – his wife Josephine, his daughter Joan, and his granddaughters

19 Julia and Jophe. The company has been owned by his two granddaughters, Julia and

20 Jophe since 1996.

21        Harry Warren is one of the great composers of 20th century American popular
22 music. Warren was nominated for the Academy Award for Best Song eleven times

23 and won three Oscars for composing Lullaby of Broadway, You'll Never Know, and

24 On the Atchison, Topeka and the Santa Fe. Warren wrote the music for the 1933

25 film musical, 42nd Street, and over the course of his career, he wrote 81 top 10 hits,

26 including timeless classics such as At Last, I Only Have Eyes For You, That’s

27 Amore, You Must Have Been A Beautiful Baby, Jeepers Creepers, and The Gold

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 1 Diggers’ Song (We’re in the Money). Warren’s songs have been featured in over

 2 300 films. Warren was inducted into the Songwriters Hall of Fame in 1971.

 3 D.           Defendant Apple Inc.
 4              Apple, Inc. (“Apple”) is a is an American multinational technology company
 5 headquartered in Cupertino, California, that designs, develops, and sells consumer

 6 electronics, computer software, and online services. Apple is the most valuable public

 7 U.S. company. Apple is currently valued at over $2 trillion.

 8              Apple owns and operates the U.S. iTunes Store (“iTunes”), a digital music
 9 store that sells permanent downloads. iTunes opened in April 2003 and has been the

10 largest music vendor in the United States since April 2008 and the largest music

11 vendor in the world since February 2010. As of January 2017, the iTunes Store

12 offered between 35–40 million recordings for download.

13 E.           The Distributor Defendants
14              All of the distributor defendants have defaulted in appearing. The following
15 is a brief description of each.

16              1.       Adasam
17              Adasam Limited (“Adasam”) is company formed in 2001 in the United
18 Kingdom. Schwartz Decl., Exh. 61. It is owned by Gerald Palmer and gave Apple a

19 business address at the Allbrite Building on Darley Dale Road in Corby

20 Narthamptonshire, England. Schwartz Decl., ¶ 49 Exh. 52 (Tab 002). Here is a

21 photo of the Adasam/Allbrite facility from which one can obtain, “a range of

22 chemicals and hand care products for any and every cleaning task,” 1 as well as

23 classic and timeless works from some of the musical world’s greatest recording

24 artists, including Frank Sinatra, Louis Armstrong and Ella Fitzgerald:

25

26

27   1
         See Allbrite’s website: http://www.allbriteservicegroup.com/index html#services
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 1

 2                                  LEGAL ARGUMENT
 3                                              Point I
 4                       Legal Standard on Summary Judgment
 5        A party may move for summary judgment as to a “part of each claim or
 6 defense.” Fed. R. Civ. P. 56(a). “The court shall grant summary judgment if the

 7 movant shows that there is no genuine dispute as to any material fact and the

 8 movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

 9 moving party must make a showing “sufficient to establish the existence of an

10 element essential to that party’s case, and on which that party will bear the burden

11 of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The burden

12 then shifts to the nonmovant to “come forward with specific facts showing there is a

13 genuine issue for trial.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

14 475 U.S. 574, 587 (1986). “[S]ummary judgment may be rendered on liability

15 alone.: Fed. R. Civ. P. 56(d)(2).

16        A claim for copyright infringement has just two elements: “(1) ownership of
17 the copyright; and (2) infringement - that the defendant copied protected elements

18 of the plaintiff's work.” Three Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th

19 Cir. 2000); see also A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th

20 Cir. 2002) (prima facie case of infringement shown by proving “ownership of the

21 allegedly infringed material” and “demonstrat[ing] that the alleged infringers

22 violate at least one exclusive right granted to copyright holders under 17 U.S.C. §

23 106.”); Feist Publications, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361

24 (1991).

25

26

27

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 1                                                Point II
 2             Plaintiffs Own or Control Exclusive Rights Under Valid
           Copyrights for Each of the Arlen, Henderson, and Warren Works
 3
           Plaintiffs have submitted evidence sufficient to demonstrate that they own a
 4
     share of each of the works at issue and that the copyright are valid. Other than a
 5
     family dispute about the percentage interest owned by Four Jays which is the
 6
     subject of a pending bench trial, there are no material questions of fact as to
 7
     ownership and the issue should be resolved on summary judgment.
 8
     A.    Applicable Law
 9
           A plaintiff may sue for copyright infringement if it is the “legal or beneficial
10
     owner” of the exclusive right (or rights) alleged to have been infringed in the
11
     pertinent work. 17 U.S.C. § 501(b); see also X-It Products, L.L.C. v. Walter Kidde
12
     Portable Equipment, Inc., 155 F. Supp. 2d 577, 603 (E.D. Va. 2001) (The
13
     “copyright owner, or the owner of exclusive rights under the copyright . . . has
14
     standing to bring an action for infringement of those rights.”).
15
           17 U.S.C. § 102(a) provides that ownership of copyright is automatic once an
16
     original work ... has been created. Educ. Testing Serv. v. Simon, 95 F. Supp. 2d
17
     1081, 1087 (C.D. Cal. 1999). 17 U.S.C. § 106(1) and 106(3) give the copyright
18
     owner the exclusive right to distribute his or her work. Id. at 1088; see also A&M
19
     Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).
20
     Copyright registrations are “prima facie evidence” of “the facts stated in the
21
     certificate.” 17 U.S.C. § 410(c). That includes ownership. Such registrations
22
     “constitute prima facie evidence of the validity of the copyright and of the facts
23
     stated in the certificate,” including ownership and originality. 17 U.S.C. § 410(c);
24
     see Wildlife Express Corp. v. Carol Wright Sales, Inc., 18 F.3d 502, 507 (7th Cir.
25
     1994) (“A certificate of registration from the U.S. Register of Copyrights
26
     constitutes prima facie evidence of the validity of a copyright.”); Transgo, Inc. v.
27
     Ajac Transmission Parts Corp., 768 F.2d 1001, 1019 (9th Cir. 1985); 4 M. & D.
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 1 Nimmer, Nimmer On Copyright § 13.01 [A] at 13-7 (2007); see also Island

 2 Software and Computer Serv., Inc. v. Microsoft Corp., 413 F.3d 257, 261 (2d Cir.

 3 2005) (court may take judicial notice of the Copyright Office's records). If a

 4 plaintiff possesses a copyright registration certificate, ‘the only evidence required of

 5 the plaintiff to establish prima facie ownership . . . is evidence of plaintiff’s chain of

 6 title from the original copyright registrant.’” Montgomery County Assoc. of

 7 Realtors, Inc. v. Realty Photo Master Corp., 878 F. Supp. 804, 809-10 (D. Md.

 8 1995) (quoting 3 Melville B. Nimmer and David Nimmer, Nimmer on Copyright §

 9 13.01[A] (1993)).

10 B.     Undisputed Evidence of Ownership and Valid Copyrights
11        Plaintiffs are the undisputed owners of the 101 musical works at issue. Arlen
12 Decl., ¶ 10; Kolbert Decl., ¶ 5; Henderson-Kemp Decl., ¶ 11; Riva Decl., ¶ 13-14;

13 Alter Decl., ¶ 2 (Alter Report at p. 12); Exhs. 2, 11, 12. For each of the 101 musical

14 works Plaintiffs have provided a copyright registration and the Catalog of

15 Copyright Entries which raise prima facie presumption of validity. Levenson Decl.

16 ¶ 11, Exhs. 2, 11. Micro Star v. Formgen Inc., 154 F.3d 1107, 1110 (9th Cir. 1998);

17 ABKCO Music, Inc. v. Sagan, 2017 WL 3236443, *4 (S.D.N.Y. 2017). Further,

18 Plaintiffs have provided copyright transfer documents to show their chain of title to

19 the Musical Works. Arlen Decl., ¶ 13; Kolbert Decl., ¶ 8; Henderson Decl., ¶ 14;

20 Riva Decl. ¶18-19; Levenson Decl. ¶ 8, 14-22; Exhs. 2, 11, 12. Plaintiffs have

21 continuously issued licenses for their works in films, television shows,

22 advertisements, and collected royalties from all industry sources including ASCAP

23 and the Harry Fox Agency for decades without any ownership dispute. Arlen Decl.,

24 Kolbert Decl., Henderson Decl., Riva Decl. Alter Decl.

25        Plaintiffs have proven that they own or control a share the exclusive rights
26 under copyright for each of the works at issue. Plaintiffs have submitted copies of

27 registration, renewal, and termination records from the U.S. Copyright Office.

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 1 Levenson Decl., Exhs. 2, 11. In addition, Plaintiffs’ submission include copies of

 2 the entries in the yearly catalogs published by the U.S. Copyright Office as well as

 3 online printouts from the Copyright Office website. Levenson Decl., Exhs. 2, 11. 2

 4 For all of Plaintiffs’ works, Harold Arlen, Ray Henderson, or Harry Warren was

 5 listed as an author on the original copyright filings. To the extent the copyrights

 6 were transferred and then terminated, all the relevant documents to the chain of title

 7 for each copyrighted composition has been included. The Declaration and Report of

 8 Plaintiffs’ expert witness Lisa Alter provides a detailed review of the chain of title

 9 for each composition as well as a thorough analysis of the issues relating to

10 Plaintiffs’ ownership and chain of title. Accordingly, Plaintiffs’ prima facie

11 ownership of these works in suit has been established. See BMG v. Cox, 149 F.

12 Supp. 3d at 644

13            The presumption of ownership created by the relevant copyright registration
14 certificates precludes any attempt by Apple, the alleged infringer, to challenge

15 Plaintiffs’ copyright ownership. X-IT Products, L.L.C. v. Walter Kidde Portable

16 Equipment, Inc., 155 F. Supp. 2d 577, 604 (E.D. Va. 2001) (“when there is no

17 dispute between the original copyright owner and his licensee or assignee, ‘it would

18 be anomalous to permit a third-party infringer to”’ challenge the transfer), quoting

19 Eden Toys, Inc. v. Florelee Undergarment Co., Inc., 697 F.2d 27, 37 (2d Cir. 1982);

20 accord Magnuson v. Video Yesteryear, 85 F.3d 1424, 1428-29 (9th Cir. 1996); Hart

21 v. Sampley, Civ. A. No. 91-3068 (CRR), 1992 WL 336496, *1 (D.D.C. June 24,

22 1992) (“Even if, as defendants suggest, the transfer was in some way defective, the

23 defendants would not have standing to challenge the validity of the transfer because

24 they were not parties to the agreement.”).

25
              2
                  The Court may sua sponte take judicial notice of copyright registration information available on the U.S.
26 Copyright Office’s public catalog, and “must take judicial notice if a party requests it and the court is supplied with
     the necessary information.” Fed. R. Evid. 201(c); BMG v. Cox, 149 F. Supp. 3d at 646 and n.5 (E.D. Va. 2015), aff’d
27 in part, rev’d in part, 881 F.3d 293 (4th Cir. 2018) (taking judicial notice of Copyright Office public catalog entries
     demonstrating registration and citing cases).
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 1 C.     The Internal Four Jays Dispute
 2        As set forth in the Riva Declaration, there is a family dispute between Harry
 3 Warren’s granddaughters concerning the percentage of Four Jays ownership. In 1996,

 4 Peter Hacker, Jophe Jones and Julia Riva assigned all their interests in the Warren

 5 copyrights to Four Jays. Riva Decl., ¶ 8, Exhs. 7-8. These assignments were part of a

 6 transaction in which Jophe and Julia bought their brother’s 1/3 interest in Four Jays.

 7 Riva Decl., ¶ 9. Since this transaction, Jophe and Julia have each been 50% owners

 8 of Four Jays. Riva Decl., ¶ 9.

 9        For many years Jones and Riva ran the company together and shared in its
10 profits equally. Riva Decl., ¶ 10. Disagreements developed, however, which resulted

11 in multiple lawsuits and the appointment of an independent member of the company’s

12 board. Jones no longer participates in Four Jays business and Riva has overseen its

13 day-to-day operations for several years. Riva Decl., ¶ 10.

14        There is no dispute that Four Jays owns what had been (prior to 1996) Julia
15 Riva’s and Peter Hacker’s shares of the U.S. copyrights in the works at issue.

16 Hacker Tr., 127:04-25 and Exhibit 4 to the deposition (Schwartz Decl., Exhs. 74-

17 75). Up until 2020, there was no dispute that Four Jays also owned what had been

18 (prior to 1996) Jophe Jones’s share of the U.S. copyrights in these works. In around

19 2020, almost 25 years after she signed the assignment (Exhibit 7), Jones disputed

20 the 1996 assignment in one of the lawsuits between Jones and Riva. Riva Decl., ¶

21 14. While Jones does not dispute that she signed the 1996 assignment, 3 she now

22 claims the assignment is invalid due to lack of consideration, notwithstanding that

23 she participated as an owner-operator, of Four Jays for nearly 20 years, including

24 being the Vice President of Four Jays for several years before 1999, and CFO of

25 Four Jays from 1999-2017 during which time Jones had access to all of the books

26 and records and records of the company, kept the accounts, and received 50% of all

27        3
              Jones has testified at deposition in these cases and conceded that she signed it. Jones Tr., 69-70 (Exh. 9)
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 1 its profits since 1996. Riva Decl., ¶ 15; Jones Tr., 30, 181-182 (Exh. 9). The

 2 California Superior Court recently denied her motion for summary judgment on this

 3 issue and ruled that “[ Four Jays ] and cross-defendant (Rivas declaration) have put

 4 forth evidence that Jones received valuable consideration for her 1996 Assignment

 5 of rights.” Riva Decl., ¶ 15, Exh. 10.

 6        We respectfully submit that there is no dispute that Four Jays owns a
 7 percentage of the Warren works as identified in the Composition Chart (Exh. 1).

 8 The California court has already denied Jones’s motion for summary judgment and

 9 rejected her belated argument that there was inadequate consideration. In the

10 unlikely event that the bench trial is not concluded or there is a different outcome

11 by the time this case proceeds to trial, any awards for Four Jays can be adjusted to

12 reflect Four Jays’ percentage ownership.

13                                              Point III
14             The Recordings at Issue Embody Plaintiffs’ Compositions
15        Plaintiffs have submitted the deposit copies comprised of the sheet music and
16 lyrics for all the work at issue in this case. Levenson Decl., ¶¶ 3-6, Schwartz Decl.,

17 ¶ 9, Exh. 59. The Copyright Office could not locate the deposit copies for the 24

18 musical works identified in Exhibit 2 the Expert Report of Stephen Braitman.

19 Levenson Decl., ¶¶ 3-5; Exh. 68. Braitman Decl., ¶ 2 (Braitman Report, Exh. 2.

20 Stephen Braitman identified the first published edition of each of the 24 works.

21 Under the 1909 Copyright Act, the first published edition of a musical work had to

22 be deposited with the Copyright Office at the time of registration. Braitman Decl., ¶

23 2 (Braitman Report, p. 4-5 (citing 1909 Copyright Act Sections 12 and 54)).

24        Plaintiffs’ expert witness, Dr. Alexander Stewart, performed an exhaustive
25 analysis, listening to each of 1,204 recordings identified by Plaintiffs in these

26 actions and identifying whether the lyrics and/or melody of the recording matched

27 the deposit copies obtained from the Copyright Office and first published editions

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 1 identified by Braitman (collectively, “deposits”). Stewart Decl., ¶ 2 (Stewart

 2 Report, p. 17-18 , Exhibit 1 thereto); ¶ 8. If either the lyrics or melody matched the

 3 deposit, then musical work registered with the Copyright Office was embodied in

 4 the recording. Stewart Decl., ¶ 8. Dr. Stewart concluded that all but 13 of the 1,204

 5 recordings 4 at issue, a total of 1,191 recordings, embody Plaintiffs’ copyrighted

 6 musical works as fixed in the sheet music deposited with the U.S. Copyright Office

 7 at the time of their registration. Stewart Decl., ¶ 2 (Stewart Report, Exh. 1), ¶ 12;

 8 Braitman Decl., ¶ 2 (Exhibit 1 Braitman Report).

 9         Dr. Stewart’s report includes a spreadsheet identifying where the recordings
10 matched the copyrighted compositions and noting, specifically, the timing of when

11 the title phrase for each song appeared in the recording. See Stewart Decl., ¶ 2

12 (Stewart Report p. 17-18, Exh. 1 thereto). Apple hired a rebuttal expert who could

13 not rebut any of Dr. Stewart’s conclusions as to the matching of compositions in the

14 recordings to the compositions in the deposit copies of Plaintiffs’ works. Schwartz

15 Decl., Exhs. 77-80 (Finell Tr., 177:09-178:13).

16                                                 Point IV
17                      Apple Violated Plaintiffs’ Exclusive Rights of
                        Reproduction, Distribution, and Importation
18
           Copyright owners of a musical work have the exclusive right to reproduce
19
     and distribute their work under 17 U.S.C. § 106(1)(3), and the exclusive right to
20
     import the works under 17 U.S.C. § 602. Apple’s reproduction, distribution and
21
     importation of unauthorized copies of Plaintiffs’ copyrighted compositions, all
22
     without Plaintiffs’ authorization, as set forth in the Arlen, Kolbert, Henderson and
23
     Riva Declarations, violates these exclusive rights and constitutes copyright
24
     infringement.
25

26
          4
            13 recordings were mistitled and do not contain the musical work in the title of the
27 recording. Stewart Report, Exh. 1.

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 1 B.       Distribution – Making Available
 2          Here, Apple violated Plaintiffs’ distribution rights in two ways, by making
 3 the recordings embodying their works available for sale and by actually selling

 4 them. The “Making Available” right is recognized by the U.S. Copyright Office, the

 5 Ninth Circuit, and Nimmer.

 6          In February 2016, the U.S. Copyright Office issued a report expressly
 7 recognizing that a copyright owner’s exclusive distribution right includes the right

 8 to make copies of the work available to the public:

 9
                   In general, where a party offers members of the public access to
10          a work in the form of a download, the offer implicates the right of
            distribution . . . . the statutory language, context, and legislative history
11          all indicate that Congress intended to reserve to copyright owners
            the right to determine whether and how their works are made
12          available to the public in copies, including digital files. References
            to the distribution right in other sections of the Copyright Act
13          demonstrate that Congress did not intend for infringement claims to
            require a completed transfer of copies in all instances.
14 See U.S. Copyright Office, The Making Available Right in The United States at p.

15 74 (Feb. 2016) (“Copyright Office Report”). 7

16          The Copyright Office’s conclusion is consistent with Ninth Circuit’s
17 statement of the law. “The distribution right in § 106(3) allows the copyright owner

18 to decide ‘when, under what circumstances, and for what price he will release

19 copies of his work to the public.’” L’Anza Research Intern., Inc. v. Quality King

20 Distributors, Inc., 98 F.3d 1109 (9th Cir. 1996)(citing Parfums Givenchy, Inc. v. C

21 &C Beauty Sales, Inc., 832 F.Supp. 1378, 1390 (C.D.Cal 1993). This is because “a

22 copyright holder possesses ‘the right to exclude others from using his property.’”

23 Perfect 10, Inc. v. Google, 653 F.3d 976, 980 (9th Cir. 2011)(citing eBay Inc. v.

24 MercExchange, L.L.C., 547 U.S. 388, 392 (2006). “The copyright is the right to

25 control the work, including the decision to make the work available to or withhold it

26
            7
27            https://www.copyright.gov/docs/making_available/making-available-right.pdf. (A copy
     of the Copyright Office Report is submitted with the Schwartz Declaration as Exhibit 76).
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 1 from the public.” Laws v. Sony Music Entm't, Inc., 448 F.3d 1134, 1137 (9th Cir.

 2 2006); Maloney v. T3Media Inc., 853 F.3d 1004 (9th Cir. 2017)(same); Washington

 3 Shoe Co. v. A-Z Sporting Goods Inc., 704 F.3d 668, 678 (9th Cir. 2012)(same); see

 4 Enterprises Intern., Inc. v. International Knife & Saw, Inc., 2014 WL 3700952, *19

 5 (W.D.Wa 2014)(state law claims preempted by 17 U.S.C. § 106 which gives

 6 plaintiff “the right to make the work available to the public.)

 7         Further, in A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir.
 8 2001), the Ninth Circuit held Napster users infringed of 106(3) by making copies

 9 available for others to download. No actual dissemination of copies was required by

10 the Ninth Circuit to find infringement. The Ninth Circuit found as follows:

11                [P]laintiffs have shown that Napster users infringe at least two
           of the copyright holders' exclusive rights: the rights of reproduction, §
12         106(1); and distribution, § 106(3). Napster users who upload file
           names to the search index for others to copy violate plaintiffs'
13         distribution rights. Napster users who download files containing
           copyrighted music violate plaintiffs' reproduction rights.
14
     Napster, at 1014 (emphasis added).
15
            The Napster court therefore found infringement Section 106(3) based solely
16
     on the fact that users had “upload[ed] file names to the search index for others to
17
     copy…” Id. (emphasis added). The Napster decision cited no evidence of actual
18
     dissemination (file names were uploaded, not copies) and includes lengthy
19
     recitations of facts showing that the only evidence before the court was that Napster
20
     users had made file names available in the index. (“B. Listing Available Files,”
21
     Napster, at 1011; “C. Searching For Available Files,” Napster, at 1012).
22
           Actual dissemination of copies was not considered or required by the Ninth
23
     Circuit in Napster. The Ninth Circuit’s finding of a violation of 106(3) was based
24
     solely on the evidence that Napster users had made copyrighted materials available
25
     for others to copy by uploading a file name (not a copy of the work) to an index.
26
     This determination that Napster users infringed 106(3) was necessary for the
27

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 1 plaintiffs to seek, and the court to find, Napster liable under a theory of contributory

 2 infringement. Napster at 1013 n. 2.

 3         Finally, the “making available right is recognized by Nimmer, widely
 4 acknowledged as the foremost expert on U.S. copyright law and is nearly

 5 universally cited by courts on these issues. Nimmer has been cited in the Ninth

 6 Circuit over 200 times. In the most recent version of the treatise, Nimmer explicitly

 7 recognizes the making available right:

 8                The distribution right accorded by Section 106(3) is to be
           interpreted broadly, consonant with the intention expressed by its
 9         drafters. It extends to the offer to the general public to make a work
           available for distribution without permission of the copyright owner. No
10         consummated act of actual distribution need be demonstrated in order to
           implicate the copyright owner’s distribution right.
11
     Nimmer on Copyright § 8.11[B][4][d](2013).
12
           Here is no dispute that all the relevant recordings were made available by
13
     Apple. Exh. 16 (Apple (Adasam) RFA Responses ¶¶ 42-43), Exh. 17 (Apple
14
     (Pickwick) RFA Responses, ¶¶ 48-49), and Exh. 18 (Apple (Genepool) RFA
15
     Responses ¶¶ 83-84).
16
     C.    Distribution - Sales
17
           Reproducing server copies and then making, selling, and distributing digital
18
     downloads or promotional streams of digital recordings embodying copies of
19
     Plaintiffs’ compositions without their permission violates Plaintiffs’ exclusive
20
     distribution rights under Sections 106(1). UMG Recordings, Inc. v. Stewart, 461 F.
21
     Supp. 2d 837, 842 (S.D. Ill. 2006) (“making and transmitting a digital copy of the
22
     music... violate[s] copyright holders' reproduction and distribution rights.”); UMG
23
     Recordings, Inc. v. Sinnott, 300 F. Supp. 2d 993, 997 (E.D. Cal. 2004) (by “selling
24
     unauthorized copies ... of Plaintiffs' copyrighted sound recordings ... directly
25
     infringed Plaintiffs' copyrights in the sound recordings.”); RSO Records, Inc. v.
26
     Peri, 596 F. Supp. 849, 853 (S.D.N.Y. 1984) (the “duplication and subsequent sale
27
     of [plaintiffs'] sound recordings ... violates the copyright holders' exclusive rights of
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 1 both reproduction and distribution.”).

 2        It is undisputed that Apple has sold many of the tracks embodying Plaintiffs’
 3 copyrighted compositions. In fact, Apple has produced U.S. sales records for each

 4 case, comprised of a spreadsheet (Schwartz Decl., Exhs. 32-34) showing every

 5 month in which it sold at least one of the relevant recordings in the U.S. and has

 6 stipulated to these sales. Schwartz Decl., ¶ 42, Exh. 35. Apple’s sales data show that

 7 it sold at least one copy of a recording embodying 44 of Plaintiffs’ compositions in

 8 Adasam, 83 in Pickwick, and 35 in Genepool. Schwartz Decl., ¶ 39-41, Exhs. 32-

 9 35. Apple admits that for each sale, Apple caused a reproduction of the recording to

10 be reproduced on the computer of its customer. Exh. 17 (Apple (Pickwick) RFA

11 Responses, ¶ 57). Each one of the sales reflected in the sales spreadsheets (Schwartz

12 Decl., Exhs. 32-34) is a violation of Plaintiffs’ distribution right.

13        In addition, Apple made all of the recordings available for sale or free
14 promotional streams to the public on iTunes without any license. Schwartz Decl.,

15 Exh. 16 (Apple (Adasam) RFA Responses ¶¶ 42-43), Exh. 17 (Apple (Pickwick)

16 RFA Responses, ¶¶ 48-49), and Exh. 18 (Apple (Genepool) RFA Responses ¶¶ 83-

17 84); Arlen Decl., ¶ 14; Kolbert Decl., ¶ 9; Henderson Decl., ¶ 15; Riva Decl. ¶ 20.

18 Apple never tracked how many promotional streams of the Adasam, Pickwick and

19 Genepool recordings it made and does not know how many promotional streams of

20 these recordings it made. Schwartz Decl., Exh. 16 (Apple (Adasam) RFA

21 Responses ¶¶ 44-45), Exh. 17 (Apple (Pickwick) RFA Responses, ¶¶ 50-51), and

22 Exh. 18 (Apple (Genepool) RFA Responses ¶¶ 85-86).

23 D.     Importation
24        Under 17 U.S.C. § 602(a), “[i]mportation into the United States, without the
25 authority of the owner of copyright under this title, of copies or phonorecords of a

26 work that have been acquired outside the United States is an infringement of the

27 exclusive right to distribute copies or phonorecords under section 106, actionable

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 1                                                 Point V
 2                                Apple Has No Valid Licenses
 3         In each of the cases, Apple has asserted an affirmative defense claiming that
 4 it has valid licenses to reproduce, distribute, and import recordings embodying

 5 Plaintiffs’ copyrighted works. Adasam ECF, 30 (Fourteenth Affirmative Defense)

 6 Pickwick ECF, 59 (Fourteenth Affirmative Defense); Genepool ECF, 51

 7 (Fourteenth Affirmative Defense). Apple claims licenses for many of the recordings

 8 at issue based on Section 115 notices served by its agent Music Reports, Inc.

 9 (“MRI”). In the Adasam case, Apple claims a license based on requests made by

10 Adasam to the Harry Fox Agency after the lawsuit was filed. Apple cannot meet its

11 burden on summary judgment for establishing the validity of any of these licenses.

12 A.      Apple Has the Burden of Proving its Licensing Affirmative Defense
13         A person invoking the compulsory license provision bears the burden of
14 proving that any recording embodying the musical work licensed under Section 115

15 was duplicated with authorization. ABKCO Music Inc. v. Sagan, 2018 WL

16 1746564, *15 (S.D.N.Y. 2018). This is because a Section 115 compulsory license is

17 an affirmative defense to copyright infringement. Kihn v. Bill Graham Archives,

18 LLC, 445 F.Supp.3d 234, 250 (N.D.Cal. 2020)(citing Adobe Sys. Inc. v.

19 Christenson, 809 F.3d 1071, 1076 (9th Cir. 2015); Davidson v. United States, 138

20 Fed.Ct. 159 (Fed Claims 2018)(“Defendant bears the burden of proof on [a]

21 statutory defense [to copyright infringement]”); See generally Fed. R. Civ. P.

22 information that can be accurately and readily determined from a source, the UK Companies
   House, whose accuracy cannot reasonably be questioned. See Fed. R. Evid. 201(b); Neman Fin.,
23 L.P. v Citigroup Glob. Markets, Inc., LACV 14-2499-VAP, 2018 WL 6265061, at *2 [CD Cal
   Sept. 5, 2018](taking judicial notice of a registration from “the official British government
24 website of Companies House, an Executive Agency of the Department for Business, Innovation
   and Skills of the Government of the United Kingdom, which maintains official records of
25 incorporation and dissolution of companies.”).

26

27

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 1 8(c)(1) item 12 (license is an affirmative defense).

 2 B.     MRI’s Section 115 Notices Are Invalid
 3        Under 17 U.S.C. § 115, there is an exception to the copyright owner’s
 4 exclusive rights to reproduce and distribute a musical work. Section 115 provides

 5 that “[a] person may by complying with the provisions of this section obtain a

 6 compulsory license to make and distribute phonorecords of a nondramatic musical

 7 work.” Section 115 provides three requirements to obtain a compulsory license (1)

 8 timely notice; (2) sufficiency of notice; and (3) eligibility to obtain a compulsory

 9 license. Apple cannot meet any of these required elements.

10        1.     Timely Notice
11        Section 115 requires that in order to obtain a compulsory license, a “Notice
12 of Intention To Obtain A Compulsory License” must be served on the copyright

13 owner of the musical work within 30 days of reproduction and prior to any

14 distribution. 17 U.S.C. 115(b)(1). If a person fails serve the notice in a timely

15 manner, the person is “foreclosed” from obtaining a compulsory license of the

16 musical work. 17 U.S.C. 115(b)(2).

17        Section 115 was amended, effective October 11, 2018, by what is commonly
18 termed the Music Modernization Act (the “MMA”). Prior to its amendment, Section

19 115 provided in pertinent part that: “Any person who wishes to obtain a compulsory

20 license under this section shall, before or within thirty days after making and before

21 distributing any phonorecords of the work, serve notice of intention to do so on the

22 copyright owner.” The pre-amendment statute applies in this case because Apple

23 first ingested (made phonorecords) all of the musical works prior to the amendment.

24 All citations to Section 115 herein are to the pre-MMA statute.

25        This timely notice requirement “is strictly enforced.” 24/7 Records, Inc. v.
26 Sony Music Entm’t, Inc., 429 F.3d 39, 42-43 (2d Cir. 2005). “Failure to serve or file

27 the notice required by [§ 115(b)(1)] forecloses the possibility of a compulsory

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 1 license and, in the absence of a negotiated license, renders the making and

 2 distribution of phonorecords actionable as acts of infringement.’” Id. (quoting 17

 3 U.S.C. § 115(b)(2)). “[F]ailure to serve the notice of intention before distributing

 4 phonorecords . . . precludes the creation of a compulsory license, and it does so both

 5 as to copies distributed prior to service and as to copies distributed thereafter.”

 6 Cherry River Music Co. v. Simitar Entm’t, Inc., 38 F. Supp. 2d 310, 312 (S.D.N.Y.

 7 1999); Blagman v. Apple, Inc., 2014 U.S. Dist. LEXIS 45401, at *16 (“If the party

 8 reproducing the song does not abide by the procedures of § 115, however, no

 9 compulsory license may be granted and the party may be liable for infringement if

10 he has not secured a negotiated license.”).

11        Timely service of the NOI is the “keystone” of compulsory licensing scheme
12 under the Copyright law and that “violations should be dealt with strictly.” Norbay

13 Music, Inc. v. King Records, Inc., 249 F.Supp. 285, 289 (S.D.N.Y. 1966)(citing

14 Shapiro, Bernstein & Co. v. Remington Records, Inc., 265 F.2d 263 (1959)).

15 Shapiro, Bernstein & Co. v. Remington Records, Inc., 265 F.2d 263 (2d Cir.

16 1959)(“failure of notice” found where record company sent the NOI after shipment

17 of infringing records and made no report or accounting of royalties).

18        Here, Apple cannot meet the timeliness requirements for virtually all of
19 recordings at issue. As set forth in the Schwartz Declaration, the “licenses” relied

20 on by Apple either don’t exist or were served late.

21        The Infringement Chart submitted with this motion (Exh. 3) highlights in
22 orange all the recordings for which Apple never served a notice for the

23 corresponding composition. Schwartz Decl., ¶ 2, Ex. 3. The Infringement Chart

24 highlights in yellow all the recordings for which the corresponding notice served by

25 Apple was late, having been served more than 30 days after Apple ingested and

26 reproduced the recording embodying one of Plaintiffs’ works. Schwartz Decl., ¶ 5,

27 Ex. 3. For these tracks, because Apple failed to serve timely NOIs, their purported

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 1 compulsory licenses are invalid, and their exploitations of Plaintiffs’ Works

 2 constitute acts of infringement. See Blagman, 2014 U.S. Dist. LEXIS 45401, at *16

 3 (S.D.N.Y. 2014).

 4         Finally, Apple served the NOIs months or years after it had already made
 5 copies of Plaintiffs’ musical works. 9 Schwartz Decl., ¶ 5, Ex. 3. The Infringement

 6 Chart highlights in purple all the recordings for which the notice served by Apple

 7 for the corresponding recording was late, having been served more than 30 days

 8 after Apple ingested and reproduced another recording embodying one of

 9 Plaintiffs’’ works.. Schwartz Decl., ¶ 6, Ex. 3. Once Apple failed to timely serve an

10 NOI for a musical work, Apple is permanently foreclosed from ever serving an NOI

11 for that musical work. 24/7 Records, Inc. v. Sony Music Entm’t, Inc., 429 F.3d 39,

12 42-43 (2d Cir. 2005) (quoting 17 U.S.C. § 115(b)(2)).

13         2.     Sufficiency of the Notice
14         Section 115(b)(1) provides that the notice of intention to obtain a compulsory
15 license “shall comply, in form, content, and manner of service, with requirements

16 that the Register of Copyrights shall prescribe by regulation.” 37 C.F.R. § 201.18.

17 provides the information required to be included in a valid NOI such as the name of

18 the artist, the catalog number, the label name, the expected date of initial

19 distribution. 37 C.F.R. § 201.18(d)(v)(E-H). See Harris v. Emus Records Corp. 734

20 F.2d 1329, 1334 (9th Cir. 1984)(“[t]he notice of provision for compulsory licenses

21 insures that the copyright owner can monitor use in order to determine that

22 accountings are accurate.”) There is no question that Section 115 requires “timely

23 and sufficient notice to the owner of the copyright in the musical work.” Palladium

24 Music, Inc. v. Eatsleepmusic, Inc., 398 F.3d 1193, 1199 (10th Cir. 2005).

25
          9
            Apple was unable to confirm whether any NOIs were sent to Plaintiffs. Williamson Tr.,
26 185:08-12.

27

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 1 because all of the recordings at issue are pirated. Under Section 115(a)(1), “[a]

 2 person may not obtain a compulsory license for use of the [musical] work in the

 3 making of phonorecords duplicating a sound recording fixed by another, unless: (i)

 4 such sound recording was fixed lawfully; and (ii) the making of the phonorecords

 5 was authorized by the owner of copyright in the sound recording or, if the sound

 6 recording was fixed before February 15, 1972, by any person who fixed the sound

 7 recording pursuant to an express license from the owner of the copyright in the

 8 musical work or pursuant to a valid compulsory license for use of such work in a

 9 sound recording.” 17 U.S.C. § 115(a).

10        In other words, Section 115 compulsory licenses are not applicable to pirated
11 versions of existing recordings. Harris v. Emus Records Corp. 734 F.2d 1329 at n.2

12 (9th Cir. 1984); See Blagman v. Apple, Inc., 2014 WL 1285496, *7 (S.D.N.Y. 2014)

13 (“although the claims in the Amended Complaint are tied solely to infringement of

14 compositions, whether the Suppliers duplicated recordings without authorization

15 from the copyright holder of the sound recording is critical to determining whether

16 a compulsory license in the underlying composition is even available”) (citing

17 Section 115(a)(1); see 2 Nimmer § 8.04[E][2] (“if the affected sound recording is

18 not subject to statutory copyright because it was fixed before February 15, 1972,

19 then the compulsory licensee must be authorized to make that duplication by the

20 person who fixed the sound recording, who must, in turn, have made the fixation

21 pursuant to a consensual or compulsory license from the copyright owner of the

22 musical work that was thus fixed.”).

23        All the pirated recordings at issue were originally released by major and
24 independent record labels in the 1920s-1960s such as Atlantic Records, Blue Note,

25 Capitol, Columbia, Decca, Mercury, MGM, RCA Victor, and Verve. Saperstein

26 Decl., ¶ 2 (Saperstein Report, p. 7-8 and Exhibit 1 thereto). There is no record of

27 Adasam, Pickwick, Genepool or Ideal Music originally releasing these recordings.

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 1 of these 605 recordings (agreeing that 579 recordings were the same). Finell Tr.,

 2 Exh. 21. Plaintiffs’ counsel provided Dr. Stewart with 605 sample recordings 11, but

 3 were unable to obtain copies of all of the “source material” (major label recordings)

 4 pirated by Adasam, Pickwick and Genepool for review by Dr. Stewart. Finally, it

 5 must be noted that in the 26 instances in which Judith Finell disputed a match with

 6 a major label recording, this only means Plaintiffs’ counsel did not provide the

 7 correct “source” recording for the pirated copy sold by Adasam, Pickwick and

 8 Genepool – not that Adasam, Pickwick or Genepool actually hired Benny Goodman

 9 or Ella Fitzgerald to record “It’s Only A Paper Moon” and produced these

10 recordings on their own. Finell Tr., Exh. 21 (Track # A-AR-035 is Benny Goodman

11 “It’s Only A Paper Moon”; Track # G-AR-007 is Ella Fitzgerald “It’s Only A Paper

12 Moon); see Stewart Report Exhibit 2 for Track # identification.

13          Further, Audible Magic, a reliable technology used to identify recordings, has
14 confirmed that Adasam, Pickwick and Genepool are copying major label

15 recordings. Roberts Decl., Exh. 2 (Roberts Report, Exhs. 3-4). Audible Magic is

16 industry standard technology that has been accepted by numerous courts as reliable

17 for identifying matching recordings 12 and Apple’s expert (Steven Marks) and

18 Plaintiff’s expert (Ty Roberts) agree that Audible Magic is reliable. Marks Tr.,

19 125:18-20; Roberts Report p. 5.

20
           11
              Dr. Stewart did not analyze six major label recordings provided by Plaintiffs’ counsel to
21 confirm whether they were the same as Adasam, Pickwick and Genepool recordings. Stewart
   Decl., ¶ 2 (Stewart Report Exhibit 2).
22
           12
              Capitol Records, LLC v. Escape Media Grp., Inc., 2015 WL 1402049, at *23 (S.D.N.Y.
23 2015); UMG Recording, Inc. v. Escape Media Grp., Inc., 2014 WL 5089743, *17 (S.D.N.Y.
   2014); UMG Recordings, Inc. v. Shelter Capital Partners LLC, 718 F.3d 1006, 1012 (9th
24 Cir.2013); Arista Records LLC v. Lime Wire LLC, 2010 WL 10031251, at *6 (S.D.N.Y. Aug. 9,
   2010); Arista Records LLC v. Myxer Inc., 2011 WL 11660773, at *5 (C.D.Cal. Apr. 1, 2011);
25 Metro–Goldwyn–Mayer Studios, Inc. v. Grokster, Ltd., 518 F.Supp.2d 1197, 1205–06
   (C.D.Cal.2007); UMG Recordings, Inc. v. Veoh Networks Inc., 665 F.Supp.2d 1099
26 (C.D.Cal.2009); UMG Recordings, Inc. v. Grande Communications Networks, LLC, 384
   F.Supp.3d 743 (W.D.Tex 2019).
27

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 1         Audible Magic confirmed that at least 638 recordings from Adasam,
 2 Pickwick and Genepool match the recordings sold by major labels. Roberts Decl., ¶

 3 2 (Roberts Report, p. 10, Exh. 4). It is obvious that Adasam, Pickwick and

 4 Genepool were simply pirating original copies of famous recordings and providing

 5 these pirated copies to Apple for sale on iTunes. There is simply no evidence at all

 6 that Adasam, Pickwick and Genepool had any rights to any of the recordings it

 7 provided to Apple for sale on iTunes and therefore, none of the NOIs attempted by

 8 Apple are valid.

 9         Lastly, the major and other legitimate record labels sent Apple infringement
10 notices covering 8,439 recordings provided by Adasam, Pickwick and Genepool.

11 Schwartz Decl., ¶ 12-15, Exh. 13-14. In every one of these instances, Adasam,

12 Pickwick and Genepool did not dispute the claims of piracy and the offending

13 recording identified in the takedown was removed from iTunes.. Exh. 16 (Apple

14 (Adasam) RFA Responses ¶¶ 76-77 and Exh. 18 (Apple (Genepool) RFA

15 Responses ¶¶ 42-43).

16 C.      The Harry Fox Licenses Claimed by Adasam Are Also Invalid
17         Apple also claims that Plaintiffs’ musical works embodied on Adasam
18 Recordings were properly licensed from the Harry Fox Agency – Plaintiff’s

19 mechanical licensing agent.13 As an initial matter, an HFA license is merely a

20 Section 115 compulsory mechanical license with slight variations with respect to

21 the method and frequency of royalty payments. See Harry Fox Agency, Inc. v. Mills

22 Music, Inc., 720 F.2d 733, 737 (2d Cir. 1983) (“even where the parties have agreed

23 to vary the exact terms of the compulsory license section [115] but did not intend to

24 waive its protection, the licenses were protected under that section”); EMI Entm’t

25 World, Inc. v. Karen Records, Inc., 603 F. Supp. 2d 759, 763-64 (S.D.N.Y. 2009)

26
         13
            Licenses to duplicate musical works embodied on sound recording are generally termed
27 “mechanical licenses.” Harris v. Emus Records Corp., 734 F.2d 1329, n. 1 (9th Cir. 1984).

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 1 (“Licenses issued by Harry Fox do not, however, alter the basic rights and

 2 obligations of the licensee under § 115”).

 3        Thus, like the compulsory licenses under Section 115 discussed above,
 4 Adasam’s purported HFA licenses are invalid because Apple cannot show their

 5 duplication of existing recordings was authorized. See Sony/ATV Publ’g, LLC v.

 6 Marcos, 651 F. App’x 482, 485 (6th Cir. 2016) (“[T]he HFA license is a standard

 7 compulsory license’”)(quoting 17 U.S.C. § 101). Moreover, although it is Apple’s

 8 burden to show otherwise, Plaintiffs have conclusively established that all of

 9 Adasam’s recordings were pirated based on the declarations of the major labels, the

10 musicological analysis by Dr. Stewart and Judith Finell, the audio fingerprinting

11 analysis by Audible Magic.

12        Finally, even if the HFA licenses were otherwise valid, these licenses were
13 only issued in 2019 and 2020 – after a lawsuit was filed and years after Apple

14 already made and sold copies – and after Plaintiffs had already commenced lawsuits

15 against Apple and Adasam. See Davis v. Blige, 505 F.3d 90, 103 (2d Cir.

16 2007)(licenses are only prospective).

17                                 Conclusion on Liability
18        Apple infringed Plaintiffs’ copyrights in 101 musical works by unauthorized
19 reproduction, distribution and importation. Plaintiffs did not license any of the uses

20 made by Apple or its providers. Apple’s failure to comply with the compulsory

21 license requirements in Section 115 is absolute and total. The evidence that

22 willfully infringed Plaintiffs' musical works, including some of the most iconic

23 songs ever composed, is provided in the next section.

24                                             Point VI
25                             Apple’s Conduct Was Willful
26         Apple knowingly engaged in the sale of pirated copies of monumental
27 recordings of Plaintiffs’ works. Apple’s willfulness is established by each of the

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 1 following decisions that Apple made:

 2         (A)    Apple recklessly chose to do business with Adasam, Pickwick
                  and Genepool - completely unknown “record labels” operating
 3                out of Europe – without any due diligence into their rights to
                  famous recordings;
 4
           (B)    Apple received and ignored actual notice from major record
 5                companies that these providers were engaged in a massive
                  piracy operation with Apple;
 6
           (C)    Apple received and ignored actual notice from the Blagman
 7                lawsuit, music industry lawyers, and independent record
                  companies that these providers were engaged in a massive
 8                piracy operation;
 9         (D)    Apple ignored its own internal investigation that concluded
                  Adasam, Pickwick and Genepool were not the “allowed” label
10                for 60,000 pirated recordings by popular artists;
11         (E)    Apple had no policy to terminate repeat infringers and continued
                  doing business with Adasam, Pickwick and Genepool until these
12                actions were brought by Plaintiffs;
13         (F)    Apple had the technology to detect “equivalent” recordings and
                  ownership information on the upload, but allowed their
14                providers to “overwrite” their own information in the label field.
                  When Apple knew the “equivalent” recordings from foreign
15                labels were being uploaded to iTunes, it did not notify the major
                  labels that were also selling these recordings on iTunes or the
16                musical composition copyrights owners whose rights were
                  infringed.
17
     A.    Applicable Law
18
           Courts may resolve the issue of willfulness on summary judgment if “there
19
     are sufficient undisputed material facts on the record to make the question
20
     appropriate for summary judgment.” Lipton v. Nature Co., 71 F.3d 464, 472 (2d
21
     Cir. 1995); see, e.g., U2 Home Entm’t, Inc. v. Wei Ping Yuan, 245 F. App’x 28, 29
22
     (2d Cir. 2007) (affirming grant of summary judgment on willfulness). In this case,
23
     the record amply supports a finding of Apple’s willfulness.
24
           Section 504(c) of the Copyright Act provides that, where the defendants’
25
     infringement is willful, statutory damages may be awarded in an amount of up to
26
     $150,000 per infringement. 17 U.S.C. § 504(c). The three mental states that
27
     properly support a finding of willfulness are (1) actual knowledge, (2) willful
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 1 blindness, or (3) recklessness. “[A] willfully blind defendant is one who takes

 2 deliberate actions to avoid confirming a high probability of wrongdoing and who

 3 can almost be said to have actually known the critical facts. Erickson Productions,

 4 Inc. v. Kast, 921 F.3d 822, 833 (9th Cir. 2019). By contrast, a reckless defendant is

 5 one who merely knows of a substantial and unjustified risk of such wrongdoing. Id.

 6          Reckless disregard can be demonstrated, for example, when a party
 7 “refus[es], as a matter of policy, to even investigate or attempt to determine

 8 [ownership of] particular [musical works.]” Unicolors, Inc. v. Urban Outfitters,

 9 Inc., 853 F.3d 980, 992 (9th Cir. 2017). 14 “[T]he state of mind required to show

10 willfulness may be inferred from the defendant's conduct.” Erickson Productions,

11 Inc. v. Kast, 2021 WL 3856698, *3 (N.D.Cal 2021). Circumstantial evidence can be

12 used to prove willfulness. Friedman v. Live Nation Merchandise, Inc., 833 F.3d

13 1180, 1189 (9th Cir. 2016).

14          Evidence to support finding of willful infringement includes evidence of the
15 exactitude with which the infringing works copied the originals. Lanard Toys Ltd.

16 V. Novelty, Inc., 2010 WL 1452527, *711 (9th Cir. 2010). The existence of prior

17 litigation involving a claim of copyright infringement can be considered. Lanard

18 Toys Limited v. Novelty, Inc., 2008 WL 11333941, *7 (C.D.Cal. 2008). The length

19 of time of the unauthorized conduct is also relevant to willfulness. Microsoft

20 Corporation v. Buy Cheap Software, Inc., 2016 WL 7444627 (C.D.Cal 2016).

21          A copyright defendant may be liable for willful infringement if it fails to
22 make any “attempt to check or inquire into” the copyright status of a work when it

23 “has a general awareness” that it might be unauthorized, Unicolors, Inc., 853 F.3d

24          14
             See also, Video Views, Inc. v. Studio 21, Ltd., 925 F.2d 1010, 1021 (7th Cir. 1991)(a
   finding of willfulness should be made where the defendant is “reckless in not knowing [its
25 conduct is an infringement”]); Fitzgerald Publishing Co. v. Baylor Publishing Co., 807 F.2d
   1110, 1115 (2d Cir. 1986)(an infringement is willful if the infringer has acted in reckless
26 disregard of the copyright owner’s right). “[O]ne who undertakes a course of infringing conduct
   may neither sneer in the face of the copyright owner nor hide its head in the sand like an ostrich.”
27 Video Views, at 1021.

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 1 Gracenote’s database and technology are reliable methods to identify rights

 2 conflicts and notify competing providers. Roberts Tr., 138:19-139:17; 204:21-

 3 206:13; Roberts Decl., ¶ 2 (Exh. 1 - Roberts Report, p. 6). Marks Tr., 127:17-20

 4 (“[Gracenote] would be able to identify recordings”).

 5        In addition to audio fingerprinting technology, Gracenote had the broadest
 6 master database of recording information. Roberts Tr., 67:6-8. Gracenote had direct

 7 feeds of data from record labels. Roberts Tr., 64:23-24. The database had track

 8 information – title of albums, the year of release, detailed genre information, and

 9 the label information. Roberts Tr., 68:24-69:03. Gracenote used editors to verify

10 and validate the label information that was received was correct. Roberts Tr.,

11 137:21-139:17. By 2005, Gracenote had 150 different licensees – “almost every

12 single company that had music products” – licensed Gracenotes’s database,

13 including Apple. Roberts Tr., 67:13-18. Gracenote is the database that powers not

14 only the iPod, but the identification of a song on a car radio and its licensees

15 included, Mercedes, Toyota, Ford, General Motors. Roberts Tr., 67:22-68:04:

16 Marks Tr., 27:22-24 (“[Gracenote] had data that could be sent alongside a song that

17 was being performed on [a car] radio, for example.)”.

18        When the label information Gracenote received for a recording conflicted
19 with an entry for a major label in its database, Gracenote’s editors would investigate

20 the accuracy of the information and resolve the conflict. Roberts Tr.138:03-139:17;

21 151:10-16 (conflicts with major label content are “highly suspicious.”). Any

22 conflicts in the data needed to be resolved and could not be ignored by Gracenote.

23 Roberts Tr., 140:5-10. “This is common sense.” Roberts Tr., 140:18. Gracenote’s

24 data contains label information that could be used solve conflicts by anybody who

25 has access to Gracenote’s data (including Apple). Roberts Tr., 143:5-12.

26        Incredibly, instead of using Gracenote’s technology for its intended use
27 (identifying rights ownership of recordings), Apple used Gracenote’s technology to

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 1 recording when this occurred to confirm a license or resolve a conflict. Roberts

 2 Tr., 140:18 (this is “common sense.”).

 3        Worse, Apple had already been a defendant in the 2012 Blagman copyright
 4 infringement action that generally alleged Apple sold pirated pre-72 recordings

 5 from many labels, and which specifically alleged that Adasam and Pickwick were

 6 pirates that never obtained licenses for the musical works they sold on iTunes.

 7 Lanard Toys Limited v. Novelty, Inc., 2008 WL 11333941, *7 (C.D.Cal. 2008)(the

 8 existence of prior litigation involving a claim of copyright infringement can be

 9 considered). Still worse, Apple sent fraudulent compulsory license notices with

10 fabricated dates of expected initial distribution to Plaintiffs’ to conceal Apple’s

11 unauthorized copying and unlicensed sales. Lanard Toys Ltd. V. Novelty, Inc., 2010

12 WL 1452527, *711 (9th Cir. 2010)(attempting to conceal blatant copying is

13 evidence of willfulness). This went on for over ten years. Microsoft Corporation v.

14 Buy Cheap Software, Inc., 2016 WL 7444627 (C.D.Cal 2016)(length of time of

15 infringing conduct relevant to willfulness).

16        Finally, any claim that Apple reasonably believed Adasam, Pickwick and
17 Genepool’s claims that they had rights to these recordings (Sinatra, Ella Fitzgerald,

18 Louis Armstrong, Lena Horne) defies “common sense.” Kohn Tr., 223:10-22.

19 Apple performed no due diligence concerning Adasam, Pickwick or Genepool

20 before allowing them into iTunes and had no basis for reasonably believing these

21 foreign labels had rights to the catalogs of Frank Sinatra, Louis Armstrong, and Ella

22 Fitzgerald. At the time of upload, Adasam, Pickwick and Genepool would have

23 had to type over verified label information matched by Gracenote and add

24 their own label name in order to submit it to Apple for sale on iTunes. Roberts

25 Tr., 266:19-269:4.

26        Moreover, Apple manually removed 65,000 tracks from the Adasam,
27 Pickwick and Genepool iTunes catalogs after it determined they were not the

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